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28
 1
                                UNITED STATES DISTRICT COURT
 2                            SOUTHERN DISTRICT OF CALIFORNIA
 3
     MS. L, et al.,                                     Case No. 18cv428 DMS MDD
 4
 5                    Petitioners-Plaintiffs,
                                                        JOINT STATUS REPORT
 6         vs.
 7
   U.S. IMMIGRATION AND CUSTOMS
 8 ENFORCEMENT, et al.,
 9
                      Respondents-Defendants.
10
11
12         The Court ordered the parties to file a joint status report (JSR) by 3:00 pm on

13 September 11, 2019, in anticipation of the status conference scheduled at 1:00 pm
14
     on September 20, 2019. The parties submit this joint status report in accordance with
15
16 the Court’s instruction.
17 I.      DEFENDANTS’ POSITIONS
18
        A. Update on Reunifications for the Original Class Period
19
20         As of September 6, 2019, Defendants have discharged 2,787 of 2,814 possible

21 children of potential class members for the original class period. That is, Defendants
22
   have discharged 2,787 of the 2,814 possible children of potential class members who
23
24 were in the care of the Office of Refugee Resettlement (ORR) as of June 26, 2018.
25 See Table 1: Reunification Update. This is an increase of three discharges reported
26
   in Table 1 since the JSR filed on August 14, 2019. See ECF No. 444. Of the three
27
28

                                                1                            18cv428 DMS MDD
     discharges, one child was reunified with the separated parent, 1 and the other two
 1
 2 were discharged under other appropriate circumstances, such as discharges to
 3
     sponsors.
 4
 5          Currently, there is one child of a class member from the original class period

 6 who remains in ORR care and is proceeding towards reunification or other
 7
     appropriate discharge. This child has a parent who departed from the United States,
 8
 9 but the Steering Committee has advised that resolution of parental preference will
10 be delayed. Defendants are supporting the efforts of the Steering Committee to
11
     obtain a statement of intent from the parent. Once Defendants receive notice from
12
13 the Steering Committee, Defendants will either reunify the child or move him into
14 the TVPRA sponsorship process, consistent with the intent of the parent.
15
            The current reunification status for the 2,814 children ages 0 through 17 for
16
17 the original class period, who have been the focus of Defendants’ reporting to date,
18 is further summarized in Table 1. The data in Table 1 reflect approximate numbers
19
   on these children maintained by ORR at least as of September 6, 2019. These
20
21 numbers are dynamic and continue to change as more reunifications, determinations
22 on class membership, or discharges occur.
23
24
25
            1
26          DHS initially separated this child from his father due to safety concerns. An immigration
   judge later granted the father asylum. As a result, DHS released him into the community, and ORR
27 reunified the child with his father shortly thereafter.
28

                                                    2                                 18cv428 DMS MDD
                              Table 1: Reunification Update
 1
                                                           Phase 1   Phase 2
 2                      Description                        (Under    (5 and Total
                                                           5)        above)
 3   Total number of possible children of potential
     class members                                      107           2707      2814
 4
                                    Discharged Children
 5   Total children discharged from ORR care:           107           2680      2787
 6   • Children discharged by being reunified with       82           2086      2168
        separated parent
 7
     • Children discharged under other appropriate
 8      circumstances (these include discharges to
        other sponsors [such as situations where the     25           594       619
 9
        child’s separated parent is not eligible for
10      reunification] or children that turned 18)
11                        Children in ORR Care, Parent in Class

12   Children in care where the parent is not eligible
     for reunification or is not available for discharge      0        1         1
13   at this time:

14   • Parent presently outside the U.S.                0              1         1
           o Steering Committee has advised that        0              1         1
15            resolution will be delayed
16   • Parent presently inside the U.S.                 0              0         0
           o Parent in other federal, state, or local   0              0         0
17
              custody
18         o Parent red flag case review ongoing –      0              0         0
              safety and well being
19
                       Children in ORR Care, Parent out of Class
20   Children in care where further review shows
21   they were not separated from parents by DHS        0              4         4

22   Children in care where a final determination has
     been made they cannot be reunified because the           0        8         8
23   parent is unfit or presents a danger to the child
     Children in care with parent presently departed
24   from the United States whose intent not to               0        12        12
     reunify has been confirmed by the ACLU
25   Children in care with parent in the United States
     who has indicated an intent not to reunify               0        1         1
26   Children in care for whom the Steering
     Committee could not obtain parental preference           0        1         1
27
28

                                               3                            18cv428 DMS MDD
 1
       B. Update on Removed Class Members for the Original Class Period
 2
          The current reunification status of removed class members for the original
 3
 4 class period is set forth in Table 2 below. The data presented in this Table 2 reflect
 5
     approximate numbers maintained by ORR as of at least September 6, 2019. These
 6
 7 numbers are dynamic and continue to change as the reunification process moves
 8 forward.
 9
                   Table 2: Reunification of Removed Class Members
10
      REUNIFICATION REPORTING METRIC                  NO.                REPORTING
11    PROCESS                                                            PARTY
      STARTING
12    POPULATION    Children in ORR care with parents 14                 Defs.
                    presently departed from the U.S.
13
14    PROCESS 1:
      Identify & Resolve Children with no “red flags” for          14    Defs.
15    Safety/Parentage   safety or parentage
      Concerns
16
      PROCESS 2:            Children with parent contact
17    Establish Contact     information identified                 14    Defs.
      with Parents in
18    Country of Origin     Children with no contact issues
                            identified by plaintiff or defendant   14    Defs. & Pls.
19
                            Children with parent contact
20                          information provided to ACLU by        14    Defs.
                            Government
21
22    PROCESS 3:            Children for whom ACLU has
      Determine             communicated parental intent for       12    Pls.
23    Parental Intention    minor:
      for Minor
24                              • Children whose parents           12    Pls.
                                  waived reunification
25
                                • Children whose parents
26                                chose reunification in            0    Pls.
27                                country of origin

28

                                              4                             18cv428 DMS MDD
 1                           • Children proceeding outside      0   Pls.
                                the reunification plan
 2                        Children for whom ACLU has not
                          yet communicated parental intent      1   Pls.
 3                        for minor:
                             • Children with voluntary
 4                                                              0   Defs.
                                departure orders awaiting
 5                              execution
 6                           • Children with parental
                                intent to waive reunification   0   Defs.
 7                              documented by ORR
 8                           • Children whose parents
                                ACLU has been in contact        0   Pls.
 9                              with for 28 or more days
10                              without intent determined
                          Children whose parents steering
11                        committee could not obtain            1   PIs
                          parental preference
12
     PROCESS 4:          Total children cleared Processes 1-
13   Resolve             3 with confirmed intent for            0   Pls.
     Immigration         reunification in country of origin
14   Status of Minors to
     Allow                  • Children in ORR care with
15   Reunification              orders of voluntary             0   Defs.
16                              departure
                            • Children in ORR care w/o
17                              orders of voluntary             0   Defs.
18                              departure
                                 o Children in ORR care
19                                  whose immigration           0   Defs.
20                                  cases were dismissed
21
22
23
24
25
26
27
28

                                           5                          18cv428 DMS MDD
         C. Update Regarding Government’s Implementation of Settlement
 1
            Agreement
 2
          SETTLEMENT                       DESCRIPTION                         NUMBER
 3           PROCESS
      Election Forms 2                Total number of executed          414 (241 Parents/173
 4                                    election forms received                Children)3
                                      by the Government
 5                                       • Number who elect             254 (139 Parents/115
                                             to receive                       Children)
 6                                           settlement
                                             procedures
 7                                       • Number who                    160 (102 Parents/58
                                             waive settlement                 Children)4
 8                                           procedures
 9    Interviews                      Total number of class                        1525
                                      members who received
10                                    interviews
                                         • Parents who                              80
11                                           received
                                             interviews
12                                       • Children who                             72
                                             received
13                                           interviews
      Decisions                       Total number of CFI/RFI                      68 6
14                                    decisions issued for
                                      parents by USCIS
15
16
            2
17           The number of election forms reported here is the number received by the government as
   of August 30, 2019.
18         3
             The number of children’s election forms is lower than the number of parent election forms
   because in many instances a parent electing settlement procedures submitted an election form on
19 his or her own behalf or opposing counsel e-mailed requesting settlement implementation for the
   entire family, but no separate form was submitted on behalf of the child.
20          4
               The number of children’s waivers is lower because some parents have submitted waivers
21   only for themselves and some parents who have waived reunification also waived settlement
     procedures and have therefore not provided a form for the child.
22           5
               Some individuals could not be interviewed because of rare languages; these individuals
     were placed in Section 240 proceedings. This number includes credible fear and reasonable fear
23   interviews, as well as affirmative asylum interviews.
             6
24             This number is the aggregate of the number of parents whose negative CFI/RFI
     determinations were reconsidered, number of parents whose negative CFI/RFI determination was
25   unchanged, and individuals who were referred to Section 240 proceedings without interview
     because of a rare language. This number excludes 12 cases where a parent already had a Notice to
26   Appear (NTA) from ICE or was already ordered removed by an IJ (which are included in the
     interview totals).
27
28

                                                    6                                    18cv428 DMS MDD
                                         • Number of parents                      67 7
 1                                          determined to
                                            establish CF or RF
 2                                          upon review by
                                            USCIS
 3                                       • Number of parents                       1
                                            whose CF or RF
 4                                          finding remains
                                            negative upon
 5                                          review by USCIS
                                     Total number of CFI                          73 8
 6                                   decisions issued for
                                     children by USCIS
 7                                       • Number of                              73 9
                                            children
 8                                          determined to
                                            establish CF by
 9                                          USCIS
                                         • Number of                               0
10                                          children
                                            determined not to
11                                          establish CF by
                                            USCIS
12                                   Total number of                               6
                                     affirmative asylum
13                                   decisions by USCIS
                                         • Number of parents                       1
14                                          granted asylum by
                                            USCIS
15                                       • Number of parents                       1
16                                          referred to
                                            immigration court
17                                       • Number of                              1 10
                                            children granted
18                                          asylum by USCIS
                                         • Number of                              3 11
19                                          children

20          7
               This number includes parents who received positive CF/RF determinations upon
     reconsideration, parents who received an NTA based on their child’s positive CF determination,
21   and parents who were placed in Section 240 proceedings due to a rare language.
            8
22             This number is the aggregate of the number of children who received a positive CF
     determination, the number of children who received a negative CF determination, and children
23   who were referred to Section 240 proceedings without interview because of a rare language.
            9
              This number includes children who received a positive CF determination, children who
24   received an NTA as a dependent on their parent’s positive CF determination, and children who
     were placed in Section 240 proceedings due to a rare language.
25          10
               This number includes children granted asylum as a dependent on their parent’s asylum
26   application.
            11
               This number includes children referred/returned to immigration court as the principal
27
28

                                                   7                                   18cv428 DMS MDD
                                            referred/returned
 1                                          to immigration
                                            court
 2
      Removals                       Number of class                          102 Parents 12
 3                                   members who have been
                                     returned to their country
 4                                   of origin as a result of
                                     waiving the settlement
 5                                   procedures

 6
        D. Parents Who ICE Records Reflect Have Absconded After Being
 7         Released
 8
         Absconders                      Number of Parents              173
 9                                       who absconded from
                                         enrollment in ATD
10                                       (Alternatives To
                                         Detention)
11
12      E. Update Regarding Identification of Expanded Class Members
13          On April 25, 2019, the Court approved Defendants’ Plan for identifying
14
     members of the expanded class. On August 30, Defendants filed an update with this
15
16 Court that described the status of Defendants’ efforts of identifying members of the
17 expanded class. See ECF No. 455. Since that date, Defendants have produced
18
   Batches 4, 5, and 8 to Plaintiffs.
19
20
21
22
23
24
25
26 asylum applicant or as a dependent on their parent’s asylum application.
         12
27          This number is as of September 2, 2019.

28

                                                   8                                  18cv428 DMS MDD
        F. Government Processes, Procedures, and Tracking, for Separations Since
 1
           June 26, 2018.
 2
              1. Data Requested by Plaintiffs
 3
 4         Defendants are providing Plaintiffs updated reports containing information
 5
     regarding parents and children separated since the Court’s June 26, 2018
 6
 7 preliminary-injunction order on the Friday following the filing of each JSR. The
 8 parties have discussed amending this schedule so that Defendants will produce these
 9
     updated reports on a monthly basis. Defendants have made this offer but Plaintiffs
10
11 have not yet agreed to this proposal.
12            2. Processes and Procedures
13
           Defendants provided a summary outline to the Court and to Plaintiffs
14
15 memorializing the processes, procedures, tracking, and communication between the
16 agencies that have been adopted by the agencies since June 26, 2018. The outline
17
     also included an overview of the options for separated parents and children to obtain
18
19 information about reunification options.
20         On March 4, 2019, Plaintiffs and lawyers for the children’s legal service
21
     providers sent comments and questions in response to the government’s proposals.
22
23 Defendants reviewed those comments and questions, and the parties met and
24 conferred on April 15, 2019, regarding those inquiries. On May 28, 2019, Plaintiffs
25
   sent additional comments related to Defendants’ proposals. Since receiving those
26
27 comments, Defendants have held several internal telephonic meetings, and have
28

                                              9                              18cv428 DMS MDD
     spoken with representatives for the Bureau of Prisons and the U.S. Marshals Service
 1
 2 to ensure that those entities are included in discussions regarding these processes
 3
     and procedures. On July 11, 2019, Defendants provided a comprehensive response
 4
 5 to Plaintiffs’ comments, and requested that the parties schedule a follow-up meet
 6 and confer on these issues once Plaintiffs have reviewed Defendants’ response.
 7
           On July 18, 2019, the parties met and conferred regarding Defendants’
 8
 9 responses. Plaintiffs sent a list of follow up questions, to which Defendants
10 responded on July 26, 2019. Plaintiffs then sent follow-up questions to Defendants’
11
     responses on August 6, to which Defendants responded on August 12. Defendants
12
13 provided some additional information to Plaintiffs on September 4, 2019, and
14 requested that Plaintiffs clarify what information they were seeking with regard to
15
     other of their inquiries. Plaintiffs have not yet responded to that latest request. The
16
17 parties will continue to meet and confer on this issue.
18
     II.   MS. L. PLAINTIFFS’ POSITION
19
     A.    Steering Committee Outreach to Sponsors and Parents of Children of
20
           Expanded Class Members
21         As of the date of this Joint Status Report, Defendants have provided
22 Plaintiffs with seven lists identifying a total of 986 children of expanded class
23 members. 13 For 853 of these children, the information in the government’s
24
25
           13
26          The seven lists identify a total of 1,271 unique children, but denote only
   986 of them as being children of potential expanded class members, while the
27 remainder are categorized as “exclusions.”
28

                                               10                             18cv428 DMS MDD
 1 production includes one or more phone numbers. The phone numbers provided in
 2 the government lists are labeled as numbers for sponsors, for parents, or for both.
 3         The Steering Committee’s process begins by calling the provided phone
 4 numbers. Where the phone number is for a sponsor and not a separated parent, the
 5 Steering Committee attempts to reach the sponsor, then obtain contact information
 6 for the parent, and then finally reach the parent.
 7         As of September 11, the Steering Committee has attempted to call the
 8 families of 722 of these 853 children, or 85% of families who can be called based
 9 on the information the government has provided. Of the 722 families to whom the
10 Steering Committee has attempted outreach, the Steering Committee has been
11 successful in completing phone calls with 542 sponsors and 119 parents.
12         The Steering Committee is also considering methods of making contact with
13 families for whom no phone contact information has been provided, or for whom
14 the phone contact information is erroneous or unworkable, for the next stage of the
15 process.
16 B.      Additional Lists of Children of Expanded Class Members
17         On August 30, the government filed three declarations, including a
18 declaration of Commander Jonathan White, attesting to the status of the
19 interagency review process. Commander White stated that HHS file review had
20 generated a total of eleven lists, and that Plaintiffs had been provided four of the
21 eleven as of August 30. ECF 455-1 at ¶ 3. Commander White’s declaration
22 further suggested that the seven remaining lists generated by HHS contained names
23 of up to 2,200 additional children of expanded class members that required
24 interagency review. Id. ¶ 4.
25         On September 10, the government provided Plaintiffs with three additional
26 lists. These three lists together contain the names of 20 previously unreported
27
28

                                              11                             18cv428 DMS MDD
 1 children of expanded class members. 14 The September 10 disclosure brings the
 2 total number of lists provided to Plaintiffs to seven of the total eleven identified by
 3 Commander White.
 4 C.      Steering Committee Progress for June 26 Initial Class
 5         The Steering Committee has successfully contacted and confirmed the
 6 preferences of nearly all removed parents with respect to reunifications. On August
 7 16, the government reported that, as of August 13, 15 children with removed
 8 parents remained in ORR custody. The Steering Committee has advised the
 9 government that no preference will be forthcoming for one of those parents due to
10 complex and individualized family circumstances, leaving 14 children with
11 removed parents in the operative group. The Steering Committee has delivered
12 preferences for 13 parents of those children. The parent of the remaining child
13 sought and was granted the opportunity to return to the United States pursuant to
14 the Court’s September 4 Order and, as the Steering Committee has previously
15 advised the government and the Court, delivery of a parental reunification election
16 in this case will therefore be delayed.
   D.     Children Whose Parents Have Submitted Preferences and Are Still
17
          Detained
18
          The Steering Committee continues to meet and confer with the government
19
   about children who are still in ORR after the Steering Committee has submitted a
20
   final reunification election.
21
   E.     Relief for Deported Parents
22
          On September 4, 2019, the Court granted, in part, the Plaintiffs’ Motion
23
   seeking relief for deported parents, so as to provide relief for eleven separated
24
   parents. Plaintiffs have written to Defendants to ascertain (1) what process the
25
           14
26          While the lists provided on September 10 included the names of 85
   children of expanded class members, the names of 65 of these children had been
27 provided to Plaintiffs in the government’s prior lists.
28

                                              12                             18cv428 DMS MDD
 1 agencies will make available to the parents to travel to the United States (at their
 2 own expense) and (2) what process the agencies will provide upon the parents’
 3 return, and are awaiting a response.
 4         Plaintiffs are also reviewing the Courts’ order with individual attorneys for
 5 the deported parents in order to determine if any clarification of the order may be
 6 necessary.
 7 F.      Information Sharing Regarding Continuing Separations
 8         Since the last status conference on August 16, Defendants have provided one
 9 updated list tracking continuing separations of families. Defendants provided that
10 list on August 20. The last separation included on the August 20 list was dated
11 July 20.
12         By the time Plaintiffs received the information, it was already one month
13 old, and its utility to families and their lawyers seeking reunification, diminished.
14 Plaintiffs are requesting that lists of continued separation be provided on a more
15 regular basis (every week).
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                                              13                             18cv428 DMS MDD
 1 III.      MMM-Dora Plaintiffs’ Report Regarding Settlement Implementation
 2       The parties continue to work together to implement the settlement agreement approved on
 3 November 15, 2018. Class counsel are providing the Government with signed waiver forms as
 4
     they are received from class members, and class counsel are continuing to work on outreach
 5
     efforts to class members who may qualify for relief under the settlement. The parties continue to
 6
 7 meet and confer on issues related to settlement implementation as they arise.
 8       One issue that continues to remain unresolved—and which was discussed at the last status

 9 conference—is a discrepancy in the statistics of settlement implementation. As the Court is
10 aware, the Government has included in the ongoing status reports certain statistics related to
11
     implementation of the MMM/Dora/Ms. L settlement agreement, including the total number of
12
     executed settlement forms provided to the Government and the number of forms in which class
13
     members elected to receive settlement procedures. Class counsel has submitted forms for more
14
15 class members than are being reported by the Government. After the last status conference, class
16 counsel again offered to compare their internal list of forms to the Government’s list to attempt
17 to identify the cause of the discrepancy. At the Government’s request, class counsel instead
18 provided their then-current list of forms to the Government, which the Government indicated it
19
     would compare with its records. The Government indicated this week that it will provide the
20
     results of its review soon.
21
         Class counsel would like to discuss this issue with the Court at the status conference,
22
23 hopefully to report on a resolution of the issue, or alternatively, to discuss setting a plan for
24 resolving it. Below are the statistics, as of August 12, 2019, that class counsel are able to report
25 based on their internal records:
26
27
28

                                                      14                                   18cv428 DMS MDD
 1 Settlement Process   Description                  Number
     Election Forms     Total number of executed     436 (260 parents; 176
 2                      election forms sent to the   children)
                        Government
 3                      • Number who elected to      266 invoke (150 parents;
                        receive settlement           116 children)
 4                      procedures
                        • Number who waived          170 waive (110 parents;
 5                      settlement procedures        60 children)
 6
 7
 8
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                                          15                                   18cv428 DMS MDD
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